Case 2:03-cv-02869-.]DB-dkv Dooument 37 Filed 06/07/05 Page 1 of 2 Page|D 46

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FoR THE WESTERN DISTRICT oF TENNESSEE 05 JU
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AARON MALoNE, x§L§a:< 113 ms'-j"§§§
" . OP m hammng
Plaintiff,
vs. No. 03-2869~B/V

STATE OF TENNESSEE, et al.,

Defendants..

ORDER OF REFERENCE
Before the Court is the Joint Motion to Modify Current Scheduling Order Dates for
Expert Disclosures, Completion of Discovery, Filing of Dispositive Motions and Trial.
The above action is hereby referred to the Honorable Diane Vescovo, U.S.
Magistrate Judge, for the purpose of conducting a scheduling conference The present trial
date Will be continued and a new date will be set after the scheduling conference
conducted by Judge Vescovo.

lT IS SO ORDERED.

 

 

[I. DANIEL BREEN "
IT .D sTATEs DISTRICT rUDGE

\/b~v‘~&. 7 , 7-¢0"‘_
DATE ’

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With Rule 58 andlor 79(3) FF\CP on 57

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-02869 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Kevin Steiling

STATE ATTORNEY GENERAL'S OFFICE
P.O. Box 20207

Nashville, TN 37202--020

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

1\/lemphis7 TN 38103

Bradley W. Eskins
ESKINS KING7 PC
50 N. Front St.

Ste. 1 170

1\/lemphis7 TN 38103

Kenneth E. Douthat

ATTORNEY GENERAL OFFICE
P.O. Box 20207

Cordell Hull 13ldg.7 an il.
Nashville, TN 37202--020

Honorable .1. Breen
US DISTRICT COURT

